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EXHIBIT B

 

 

 

8/16/2018

IKEA FAMILV IKEA for Buslnas Cusi:omer Services Financing_ Joln our emall list

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Products v Inspiration New Offers

Service_s Back to Colleg§

 

[:l;> You can do it yourself- but you don't have to \ De|ivery starting at $29!

CUSTOMER SERVICE: Contact Us l IKEA Services l
IKEA Planning Too|s l Assembly Instructions l Request/View Catalog § Warranty Information

ABOUT SHOPPING

IKEA return policy

It's OK to change your mind

It's OK to change your mind. If you’re not totally satisfied with your IKEA purchase
you can return it within 365 days, together with proof of purchase, for a full refund.
Refunds will be made in the same form of payment originally used to make the
purchase. We are unable to refund or exchange your items if your merchandise is
found to be dirty, stained, damaged or abused.

*Mattresses purchases may be exchanged for another mattress one time within 365
days if you don't love it.

Read more about our warranties

Informacir')n en espar'iol

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o Choose Your Store v

Search O\

Re:i.:rr: ?0§§:\/ | FAQ l DeliveryTerms&Conditions l Store Locator l Stock Check l Buying Guides l

How to return

Because sometimes you change your mind.

In-store

Return for free at any IKEA store. Just bring your merchandise,
photo ID**, receipt (or online order confirmation) and the card
that you made the purchase with... and leave the rest to us.
Find your local store here.

No Receipt, No Prob|em!

We can come to you!

¢ For large item returns (where we will need a truck to pick it up)
contact us and we will setup a pickup. This service is not
available in all areas. Please contact us for pricing and scheduling
at 1-888-434-4532.

v For smaller item returns (FedEx or UPS could pick it up) please
complete this form and send the package(s) back to your closest
IKEA store location. Please be sure to include a copy of your
completed Return Packing S|ip and a copy of your receipt / order
confirmation in the return package.

If the purchase was made in the last 365 days, we can attempt to locate the purchase using:

- Credit/Debit Card

- Gilt Card Number

- Order Number (if applicable)
c Date of order

https://www.ikea.comlms/en_USlcustomer-service/about-shoppinglreturn-po|icy/index.htmi

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IKEA ,' CustomerService

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If we can‘t find a record of the purchase, we will gladly provide a merchandise credit for the lowest selling price of the item within the last 365 days.
** You will be required to present a valid photo ID for all returns and exchanged made in store. Infarmation from your ID will be retained in a company-wide

database to be used only for authorizing returns.

Missing, damaged or
incomplete orders

Sometimes things don't go as planned. If your order arrived incomplete,
contained damaged products, or didn‘t even show up, we're here to he|p.

 

 

 

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Visit your closest store

 

Regard|ess of your issue, you can always
visit your local IKEA store and we will
find a solution for you. If your item is
damaged, bring your damaged item and
proof of purchase. If you are missing an
item, bring your order confirmation.

 

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Information
Requst FAQ
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Buying Guids Feedbacl< Picking with De|ivery
Retum Po|iq/ de< an Order
Children's Product De|ivery Terms &
Registration Condm'ons
Store Finder

Helpful ljan

Find an IKEA Store

All Produds

Planning Too|s

IKEA Food & Rslaurant
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IKEA Gft Card

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Cal| Us

Visit our contact page to call one of our
agents. We will help you find a solution.

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The IKEA Concept TaskRabbit
Democlat.ic Design
About the IKEA Group
People & Planet

Prss Room

Read our Materials
IKEA Foundation

https://www.ikea.com/mslen_US/customer-service/about-shopping/return-policylindex.html

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